Exhibit 1
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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7                                                       Case No. 18-cv-01885-HSG
                                            IN RE KONINKLIJKE PHILIPS PATENT
                                            LITIGATION
                                   8
                                                                                           ORDER REGARDING DAUBERT
                                   9                                                       MOTIONS
                                            This Document Relates To:
                                  10                                                       Re: Dkt. Nos. 711, 713, 766, 742
                                                          ALL ACTIONS
                                  11

                                  12                                                       [UNDER SEAL]
Northern District of California
 United States District Court




                                  13

                                  14            Pending before the Court are Defendants ASUSTeK Computer Inc. and ASUS Computer

                                  15   International (collectively, “ASUS”) and Plaintiffs Koninklijke Philips N.V. and U.S. Philips

                                  16   Corporation (collectively, “Philips”) motions to exclude expert testimony. Philips seeks to

                                  17   exclude testimony from three ASUS technical experts: (1) Mark Dunlop, (2) Markus Jakobsson,

                                  18   and (3) Dick Bulterman. See Dkt. Nos. 711, 713, 766. ASUS seeks to exclude testimony from

                                  19   Philips’s damages expert, Michael Tate. Dkt. No. 742. Having carefully considered the parties’

                                  20   arguments and evidence submitted, the Court (1) DENIES without prejudice Philips’s motion to

                                  21   exclude Dr. Dunlop’s opinions, (2) GRANTS IN PART and DENIES IN PART Philips’s motion

                                  22   to exclude Dr. Jakobsson’s opinions, (3) DENIES Philips’s motion to exclude Dr. Bulterman’s

                                  23   opinions, and (4) GRANTS IN PART and DENIES IN PART ASUS’s motion to exclude Mr.

                                  24   Tate’s opinions.

                                  25   I.       BACKGROUND
                                  26            Philips contends that ASUS infringes six of its patents: U.S. Patent Nos. 5,910,797 (“’797

                                  27   Patent”), 7,184,064 (“’064 Patent”), 7,529,806 (“’806 Patent”), 9,436,809 (“’809 Patent”), and

                                  28   RE43,564 (“’564 Patent”), and RE44,913 (“’913 Patent”). On January 6, 2020, the Federal
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                                   1   Circuit found all claims of the ’913 Patent unpatentable. See Dkt. No. 949. In response, Philips

                                   2   agreed to stay all claims related to the ’913 Patent pending further appeal. Dkt. No. 970.

                                   3           According to the schedule adopted in this case, fact discovery closed on January 4, 2019,

                                   4   with opening expert reports due on March 14, 2019 and rebuttal expert reports due on May 16,

                                   5   2019. Dkt. No. 573. After multiple extensions, the opening expert report deadline was extended

                                   6   to April 25, 2019 and the rebuttal expert report deadline to June 20, 2019. Dkt. Nos. 631, 644.

                                   7   Although the scheduling order did not permit reply expert reports, Philips filed supplemental

                                   8   expert reports to rebut certain allegedly new theories in Dr. Dunlop’s and Dr. Jakobsson’s rebuttal

                                   9   reports. See Dkt. Nos. 710-11, 713-6.

                                  10   II.     LEGAL STANDARD
                                  11           A.     Federal Rule of Evidence 702
                                  12           Federal Rule of Evidence 702 governs the admission of expert testimony. Rule 702
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                                  13   permits a qualified expert to testify based on “scientific, technical, or other specialized

                                  14   knowledge” if (1) it will “help the trier of fact to understand the evidence or to determine a fact in

                                  15   issue,” (2) “the testimony is based on sufficient facts or data,” (3) “the testimony is the product of

                                  16   reliable principles and methods,” and (4) “the expert has reliably applied the principles and

                                  17   methods to the facts of the case.” Fed. R. Evid. 702. In permitting expert testimony, district

                                  18   courts play a “‘gatekeeping role,’ the objective of which is to ensure that expert testimony

                                  19   admitted into evidence is both reliable and relevant.” Sundance, Inc. v. DeMonte Fabricating Ltd.,

                                  20   550 F.3d 1356, 1360 (Fed. Cir. 2008) (citing Daubert v. Merrell Dow Pharmas., Inc., 509 U.S.

                                  21   579 (1993)). In so doing, “[t]he district court is not tasked with deciding whether the expert is

                                  22   right or wrong, just whether his testimony has substance such that it would be helpful to a jury.”

                                  23   Alaska Rent-A-Car, Inc. v. Avis Budget Grp., Inc., 738 F.3d 960, 969-70 (9th Cir 2013); see also

                                  24   Daubert, 509 U.S. at 595 (“The focus, of course, must be solely on principles and methodology,

                                  25   not on the conclusions that they generate.”); Primiano v. Cook, 598 F.3d 558, 565 (9th Cir. 2010)

                                  26   (“Under Daubert, the district judge is ‘a gatekeeper, not a fact finder.’” (citation omitted)).1

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                                       1
                                  28    The decision to admit expert testimony in a patent case follows the law of the regional circuit.
                                       Micro Chem., Inc. v. Lextron, Inc., 317 F.3d 1387, 1390-91 (Fed. Cir. 2003).
                                                                                       2
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                                   1           The test for reliability is “fluid and contextual”; district courts have “‘broad latitude’ to

                                   2   ‘decide how to test an expert’s reliability’ and ‘whether or not [an] expert’s relevant testimony is

                                   3   reliable.” Murray v. S. Route Maritime SA, 870 F.3d 915, 923 (9th Cir. 2017). “Reliable expert

                                   4   testimony need only be relevant, and need not establish every element that the plaintiff must

                                   5   prove.” Primano, 598 F.3d at 565. Testimony is relevant if it “will assist the trier of fact to

                                   6   understand or determine a fact in issue.” Cooper v. Brown, 510 F.3d 870, 942 (9th Cir. 2007).

                                   7   When expert opinion meets the reliability and relevance threshold, “the expert may testify and the

                                   8   jury decides how much weight to give that testimony.” Primano, 598 F.3d at 565. “Shaky but

                                   9   admissible evidence is to be attacked by cross examination, contrary evidence, and attention to the

                                  10   burden of proof, not exclusion.” Id. (quoting Daubert, 509 U.S. at 594, 596).

                                  11           B.      Federal Rule of Civil Procedure 26
                                  12           Federal Rule of Civil Procedure 26 also applies to expert testimony. Rule 26(e) requires a
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                                  13   party “who has responded to an interrogatory” to “supplement or correct its disclosure or

                                  14   response” “in a timely manner if the party learns that in some material respect the disclosure or

                                  15   response is incomplete or incorrect, and if the additional or corrective information has not

                                  16   otherwise been made known to the other parties during the discovery process or in writing.” Fed.

                                  17   R. Civ. P. 26(e)(1). Rule 37 “gives teeth” to Rule 26 requirements by “forbidding the use at trial

                                  18   of any information that is not properly disclosed” in discovery unless the failure was “substantially

                                  19   justified or harmless.” Goodman v. Staples The Office Superstore, LLC, 644 F.3d 817, 827 (9th

                                  20   Cir. 2011); Fed. R. Civ. P. 37(c)(1). Under Rules 26 and 37, an expert opinion may be excluded

                                  21   for including information not disclosed during fact or expert discovery. See, e.g., Goodman, 644

                                  22   F.3d at 827; Berman v. Knife River Corp., 687 F. App’x 616, 617 (9th Cir. 2017).2 The party that

                                  23   failed to disclose information bears the burden to demonstrate that the failure was “substantially

                                  24   justified or harmless.” Torres v. City of L.A., 548 F.3d 1197, 1213 (9th Cir. 2008).

                                  25

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                                  28    As an unpublished Ninth Circuit decision, Berman is not precedent, but can be considered for its
                                       persuasive value. See Fed. R. App. P. 32.1; CTA9 Rule 36-3.
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                                       III.   PHILIPS’S DAUBERT MOTIONS
                                   1
                                              Philips seeks to exclude the testimony of Dr. Dunlop, Dr. Jakobsson, and Dr. Bulterman.
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                                       According to Philips, all three experts introduced new theories in their rebuttal reports that were
                                   3
                                       not disclosed during fact discovery. Philips also challenges the reliability of Dr. Jakobsson’s
                                   4
                                       invalidity opinions on the grounds that they employ improper hindsight analysis. Because Philips
                                   5
                                       agreed to stay all claims and defenses related to the ’913 Patent, which includes Dr. Dunlop’s
                                   6
                                       opinions at issue, the Court DENIES Philips’s motion to exclude Dr. Dunlop’s testimony without
                                   7
                                       prejudice to renewal if the Federal Circuit’s invalidity finding is reversed on banc or by the U.S.
                                   8
                                       Supreme Court. The remaining expert opinions are addressed below.
                                   9
                                              A.      Dr. Jakobsson’s Invalidity Opinions
                                  10
                                              Philips seeks to exclude Dr. Jakobsson’s invalidity opinions for the ’809 Patent under 35
                                  11
                                       U.S.C. § 103 (obviousness) on the basis that they employ improper hindsight reasoning. A patent
                                  12
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                                       is invalid for obviousness if “the differences between the subject matter sought to be patented and
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                                  13
                                       the prior art are such that the subject matter as a whole would have been obvious at the time the
                                  14
                                       invention was made to a person having ordinary skill in the art to which said subject matter
                                  15
                                       pertains.” 35 U.S.C. § 103. Importantly, “[a]n invention is not obvious simply because all of the
                                  16
                                       claimed limitations were known in the prior art at the time of the invention.” Forest Labs., LLC v.
                                  17
                                       Sigmapharm Labs., LLC, 918 F.3d 928, 934 (Fed. Cir. 2019). Instead, there must be “a reason,
                                  18
                                       suggestion, or motivation in the prior art that would lead one of ordinary skill in the art to combine
                                  19
                                       the references, and that would also suggest a reasonable likelihood of success.” Id. (quoting
                                  20
                                       Smiths Indus. Med. Sys., Inc. v. Vital Signs, Inc., 183 F.3d 1347, 1356 (Fed. Cir. 1999)); see also
                                  21
                                       In re Kotzab, 217 F.3d 1365, 1369-70 (Fed. Cir. 2000) (“Most if not all inventions arise from a
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                                       combination of old elements . . . . [T]o establish obviousness based on a combination of the
                                  23
                                       elements disclosed in the prior art, there must be some motivation, suggestion or teaching of the
                                  24
                                       desirability of making the specific combination that was made by the applicant.”).
                                  25
                                              Motivation to combine “can be found explicitly or implicitly in the prior art references
                                  26
                                       themselves, in market forces, in design incentives, or in ‘any need or problem known in the field
                                  27
                                       of endeavor at the time of invention and addressed by the patents.’” Forest Labs., 918 F.3d at 934
                                  28
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                                   1   (quoting Arctic Cat Inc. v. Bombardier Rec. Prods. Inc., 876 F.3d 1350, 1359 (Fed. Cir. 2017)).

                                   2   However, the Federal Circuit has cautioned against using hindsight reasoning to “piece together

                                   3   elements to arrive at the claimed invention” using the patent itself. In re NTP, Inc., 654 F.3d

                                   4   1279, 1299 (Fed. Cir. 2011); see InTouch Techs., Inc. v. VGO Comms., Inc., 751 F.3d 1327, 1351-

                                   5   52 (Fed. Cir. 2014) (rejecting as hindsight bias expert testimony that relied on the patent at issue

                                   6   as a “roadmap” for putting the “jigsaw puzzle” of prior art elements together); Grain Processing

                                   7   Corp. v. Am. Maize-Products Co., 840 F.2d 902, 907 (Fed. Cir. 1988) (“Care must be taken to

                                   8   avoid hindsight reconstruction by using ‘the patent in suit as a guide through the maze of prior art

                                   9   references, combining the right references in the right way so as to achieve the result of the claims

                                  10   in the suit.’” (citation omitted)).

                                  11           At the outset, the Court notes that this is not a typical hindsight analysis case. In NTP,

                                  12   InTouch, and Grain Processing, the party challenging validity relied on the patent-at-issue to piece
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                                  13   together the solution described by the patented invention. For example, in NTP, the Federal

                                  14   Circuit rejected a finding of obviousness based on a “piecemeal analysis” that selectively plucked

                                  15   missing elements from the prior art to arrive at the patented invention. 654 F.3d at 1298-99.

                                  16   Here, on the other hand, Dr. Jakobsson relies on the specification of the ’809 Patent to provide the

                                  17   problem motivating the combination of prior art. He opines that “[g]iven the object of invention”

                                  18   of the ’809 Patent, and “once the goal of the invention and problem to be solved are set forth,” the

                                  19   combination of prior art references would have been obvious. Dkt. No. 713-3 (“Jakobsson

                                  20   Report”) ¶ 154; see also id. ¶¶ 168 (“[A] POSITA would have been motivated to look closely at

                                  21   Willey to address concerns raised in the [’]809 Patent.”), 187 (opining that a POSITA facing the

                                  22   problem set forth by the ’809 Patent would combine the elements of the prior art), 212 (same), 251

                                  23   (same), 281 (same), 317 (same). Dr. Jakobsson does not independently consider or provide

                                  24   evidence that the problem described in the ’809 Patent was known in the art at the time of the

                                  25   invention. See Dkt. No. 713-5 (“Jakobsson Depo.”) at 92:19-93:7, 98:4-100:15, 102:1-9.

                                  26           Relying on the specification to supply a problem presumably poses less risk of hindsight

                                  27   bias than relying on it for the solution. Inventors typically invent solutions, not problems.

                                  28   Nevertheless, the Federal Circuit has recognized that “an invention can often be the recognition of
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                                   1   a problem itself.” Leo Pharma. Products, Ltd. v. Rea, 726 F.3d 1346, 1353 (Fed. Cir. 2013); see

                                   2   also Mintz v. Dietz & Watson, Inc., 679 F.3d 1372, 1377 (Fed. Cir. 2012) (“Often the inventive

                                   3   contribution lies in defining the problem in a new and revelatory way.”). In Leo Pharmaceutical

                                   4   Products, the Federal Circuit reversed a finding of obviousness for a composition comprising

                                   5   ingredients that were well-known in the art. Id. at 1353. Although a person of ordinary skill

                                   6   would have been “familiar” with each ingredient and would have known how to combine them in

                                   7   a composition, the Federal Circuit concluded that the inventors “recognized and solved a problem”

                                   8   involving the stability of existing compositions “that the prior art did not recognize.” Id. Since

                                   9   none of the prior art recognized the problem to be solved, “the record show[ed] no reason for one

                                  10   of ordinary skill in the art to attempt to improve [the prior art]” by adding additional ingredients

                                  11   and the invention was not obvious. Id. at 1354.

                                  12           Accordingly, since the inventive contribution may lie in “defining the problem in a new
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                                  13   revelatory way,” relying on the specification of a challenged patent to supply the motivation to

                                  14   combine prior art presents impermissible hindsight bias.3 See Insite Vision Inc. v. Sandoz, Inc.,

                                  15   783 F.3d 853, 858-60 (Fed. Cir. 2015) (“Defining the problem in terms of its solution reveals

                                  16   improper hindsight in the selection of the prior art relevant to obviousness.”); Mintz, 679 F.3d at

                                  17   1377-78 (vacating invalidity finding where “[t]he district court has used the invention to define the

                                  18   problem that the invention solves”); see also Purdue Pharma L.P. v. Depomed, Inc., 643 F. App’x

                                  19   960, 966 (Fed. Cir. 2016) (“[T]o the extent that Purdue relies on the problem to be solved to

                                  20   supply the reason to combine the prior art, it failed to demonstrate . . . that the problem was known

                                  21   in the art or that Purdue’s formulation of the problem was derived directly from the prior art,

                                  22   rather than from the challenged claims.”).

                                  23           Philips’s motion is nevertheless overbroad in seeking to exclude the entirety of Dr.

                                  24   Jakobsson’s invalidity opinions. Dr. Jakobsson provides additional opinions concerning the

                                  25   motivation to combine prior art elements that do not rely on the ’809 Patent. For example, he

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                                  27    Of course, if the specification itself admits that either the problem or elements of the solution
                                       were known in the art, the parties may rely on the admission without additional analysis. See, e.g.,
                                  28   NTP, 654 F.3d at 1297 (discussing “applicant’s admitted prior art”). Here, however, the
                                       specification does not suggest that its specific framing of the problem was previously known.
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                                   1   opines that the ISO 9798 and ISO 11770 standards themselves suggest making their combination

                                   2   and that Willey discusses the desirability of using public key certificates, such as those described

                                   3   in the specifications. Jakobsson Report ¶¶ 161, 164. Since these opinions rely on motivation to

                                   4   combine found in the prior art, they are both relevant and reliable in helping determine invalidity.

                                   5   See Forest Labs., 918 F.3d at 934 (motivation to combine may come from teachings in the prior

                                   6   art). Moreover, to the extent that ASUS can lay the foundation to show that the problem described

                                   7   in the ’809 Patent was known in the art, Dr. Jakobsson may testify that “given” that problem, a

                                   8   person of ordinary skill confronting the same challenge would have combined the prior art as

                                   9   stated. Thus, the Court GRANTS Philips’s motion to exclude Dr. Jakobsson’s invalidity opinions

                                  10   to the extent that they rely on the ’809 Patent specification to supply the motivation to combine

                                  11   but DENIES the motion as to opinions regarding the teachings of the prior art references and the

                                  12   motivation to combine found outside of the ’809 Patent specification.4
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                                  13           B.     Dr. Jakobsson’s Noninfringement and Noninfringing Alternative Theories
                                  14           Philips also moves to exclude the following theories disclosed in Dr. Jakobsson’s rebuttal

                                  15   expert report: (1) a noninfringement theory based on “additional steps” performed after the

                                  16   locality check, (2) a noninfringing alternative theory based on “DTCP IP,” (3) a noninfringing

                                  17   alternative theory based on providing the first signal before the second device is determined to be

                                  18   compliant, and (4) a noninfringing alternative theory based on using a key exchange protocol.

                                  19   Dkt. No. 713-4 (“Jakobsson Rebuttal Report”) ¶¶ 83-84, 99-100, 101-02. Philips contends that

                                  20   none of these theories or alternatives were disclosed in ASUS’s interrogatory responses in

                                  21   violation of Federal Rule of Civil Procedure 26.

                                  22           ASUS concedes that three of these theories were not disclosed in interrogatory responses

                                  23   and agrees not to introduce expert testimony regarding those theories. However, for the DTCP IP

                                  24   noninfringing alternative, ASUS contends that it disclosed that alternative in its interrogatory

                                  25
                                       4
                                  26    The parties dispute whether Philips disclosed the novelty of the problem solved by the ’809
                                       Patent in its validity contentions and whether the inventor of the ’809 Patent admitted that the
                                  27   problem was known in the art. Neither of those disputes is relevant to the question of whether Dr.
                                       Jakobsson’s opinion used reliable methods. In any case, Philips appeared to have sufficiently
                                  28   disclosed hindsight reasoning as part of its validity contentions and the inventor testimony is
                                       sufficiently contradictory to be best left for the parties’ cross-examination.
                                                                                           7
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                                   1   responses. Specifically, in response to Philips’s interrogatory number 16, ASUS stated that “the

                                   2   code could be modified to use DTCP IP for content protection for proximal devices rather than

                                   3   PlayReady-ND and MBDRM-ND.” Dkt. No. 713-11 (“ASUS ROG 16 Responses”) at 8-9.

                                   4   According to the parties, PlayReady-ND and MBDRM-ND were additional accused products that

                                   5   Philips withdrew prior to expert discovery. In other words, ASUS identified DTC IP as a

                                   6   noninfringing alternative for a different set of products than the ones currently accused. The

                                   7   currently-accused products (based on HDCP 2.x functionality) were separately addressed in the

                                   8   interrogatory responses. For those products, ASUS stated that code could be modified to remove

                                   9   HDCP 2.x functionality and rely on HDCP 1.x instead. Id. at 9.

                                  10          The Court finds that ASUS’s disclosures were not sufficient to disclose DTCP IP as a

                                  11   noninfringing alternative. ASUS’s responses clearly identify DTCP IP as a noninfringing

                                  12   alternative to the PlayReady-ND and MBDRM-ND products only. If ASUS intended to rely on
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                                  13   the functionality as a noninfringing alternative to the currently-accused products, it was obligated

                                  14   to supplement its responses to clearly indicate its intention. See Fed. R. Civ. P. 26(e)(1)(A).

                                  15   Having failed to do so, ASUS denied Philips the opportunity to conduct fact discovery on the

                                  16   noninfringing alternative in relation to the currently-accused products and to perform full expert

                                  17   discovery on the theory. ASUS’s disclosure of the noninfringing alternative in relation to other

                                  18   products is not sufficient; Philips was justified in relying on ASUS’s interrogatory responses in

                                  19   believing the theory was no longer relevant. Accordingly, ASUS fails to show that the violation

                                  20   of Rule 26 was substantially justified or harmless and exclusion applies. See Asia Vital

                                  21   Components Co., Ltd. v. Asetek Danmark A/S, 377 F. Supp. 3d 990, 1003-05 (N.D. Cal. 2019)

                                  22   (excluding theories disclosed in rebuttal expert report but not interrogatory responses); Apple, Inc.

                                  23   v. Samsung Elecs. Co., Ltd., No. 11-CV-01846-LHK, 2012 WL 3155574, at *5 (N.D. Cal. Aug. 2,

                                  24   2012) (same). The Court therefore GRANTS Philips’s motion to exclude Dr. Jakobsson’s new

                                  25   noninfringement and noninfringing alternative theories.

                                  26          C.      Dr. Bulterman’s Noninfringement Theories
                                  27          Philips next moves to exclude noninfringement theories in Dr. Bulterman’s rebuttal expert

                                  28   report for the ’806 Patent on the ground that they were not disclosed in ASUS’s noninfringement
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                                   1   contentions. Contention interrogatories are a special type of discovery disclosure intended to

                                   2   “require parties to crystallize their theories of the case early in the litigation.” O2 Micro Int’l Ltd.

                                   3   v. Monolithic Power Sys., Inc., 467 F.3d 1355, 1364 (Fed. Cir. 2006). Contentions “act as forms

                                   4   of pleading that disclose the parties’ theories of their case and thereby shape discovery and the

                                   5   issues to be determined at trial.” Apple Inc. v. Samsung Elecs. Co., No. 12-CV-0630-LHK PSG,

                                   6   2013 WL 3246094, at *3 (N.D. Cal. June 26, 2013). They do not, however, require parties to

                                   7   disclose specific evidence or prove their case. AntiCancer, Inc. v. Pfizer, Inc., 769 F.3d 1323,

                                   8   1331, 1338 (Fed. Cir. 2014); Finjan, Inc. v. Symantec Corp., No. 14-cv-02998-HGS (JSC), 2018

                                   9   WL 620169, at *2 (N.D. Cal. Jan. 30, 2018). Thus, in deciding whether to exclude expert

                                  10   testimony, “[t]he dispositive inquiry . . . [is] whether the allegedly undisclosed ‘theory’ is in fact a

                                  11   new theory . . . or whether the ‘theory’ is instead the identification of additional evidentiary

                                  12   proof.” Finjan, 2018 WL 620169, at *2; see also Apple Inc. v. Samsung Elecs. Co., Ltd., No.
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                                  13   5:12-cv-0630-LHK-PSG, 2014 WL 12917334, at *1 (N.D. Cal. Jan. 9, 2014) (framing the

                                  14   question as “has the expert permissibly specified the application of a disclosed theory, or has the

                                  15   expert impermissibly substituted a new theory altogether”).

                                  16          Here, the parties dispute whether the allegedly undisclosed noninfringement theories are,

                                  17   in fact, theories. Philips contends that ASUS failed to disclose (1) the            theory and (2) the

                                  18                     theory of noninfringement. Because the parties dispute the characterization of

                                  19   these theories, the Court looks at the underlying opinions in Dr. Bulterman’s report and compares

                                  20   them to ASUS’s final interrogatory responses. See Dkt. Nos. 766-2 (“Bulterman Report”); 766-3

                                  21   (“ASUS ROG Response”).

                                  22          Philips cites pages 129-132, 149-150 and 170 in Dr. Bulterman’s report for the

                                  23   theory. In these pages, Dr. Bulterman explains that the              functionality is an

                                  24

                                  25                         Bulterman Report at 129. Because the asserted claims of the ’806 Patent

                                  26   require the client device to perform the downloading method, the accused products do not practice

                                  27   the claims when the                                                                                 Id.

                                  28   at 150. In its noninfringement contentions, ASUS disclosed that “Philips’ source-code contentions
                                                                                          9
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                                   1   do not correctly describe the functionality of the YouTube application, at least by failing to

                                   2   include the            functionality of YouTube.” ASUS ROG Responses at 108. The Court finds

                                   3   that this response adequately put Philips on notice of ASUS’s theory that the accused products do

                                   4   not practice the claimed method when the                 functionality is enabled. Cf. Finjan, 2018 WL

                                   5   620169, at *2 (finding disclosures sufficient if they “provide reasonable notice” of “why the

                                   6   [party] believes it has a reasonable chance of proving” its case (quotation and citation omitted)).

                                   7              Philips cites pages 30-31, 85, 96-103, and 122-123 of Dr. Bulterman’s report as evidence

                                   8   of the “                  ” theory. In these pages, Dr. Bulterman rebuts Philips’s expert’s opinion

                                   9   that the “protocol buffer file” is the “control information file” recited in the asserted claims

                                  10   because, among other reasons, it is not a file and does not contain information required for the

                                  11   “control information file.” Bulterman Report at 97. The Court finds that ASUS adequately

                                  12   disclosed this theory in its noninfringement contentions. Specifically, in its interrogatory
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                                  13   responses, ASUS stated that the accused products do not satisfy the claims because they do not

                                  14   contain a “control information file.” ASUS ROG Responses at 107. Although ASUS’s responses

                                  15   do not mention “             ,” “     ,” or “protocol information file,” neither do Philips’s

                                  16   infringement contentions. See Dkt. No. 832-17 (“Philips Infringement Contentions”). Instead, Dr.

                                  17   Bulterman’s opinion appears to respond to Dr. Polish’s report that identifies the

                                  18                               as the “control information file.” See Bulterman Report at 99-100.

                                  19   Because ASUS had disclosed that the accused products do not have a “control information file,”

                                  20   Philips was put on notice that ASUS intended to argue that whichever components Philips accused

                                  21   for this limitation did not meet the claim requirements.

                                  22              Philips argues that even though ASUS disclosed these theories, it nonetheless failed to

                                  23   disclose them in sufficient detail, citing KlausTech, Inc. v. Google LLC, No. 10-cv-05899-JSW

                                  24   (DMR), 2018 WL 5109383 (N.D. Cal. Sept. 14, 2018) and Thought, Inc. v. Oracle Corp., No. 12-

                                  25   cv-05601-WHO, 2016 WL 3230696 (N.D. Cal. June 13, 2016). The current situation is different

                                  26   from those cases, however. In KlausTech and Thought, the court rejected arguments that a party

                                  27   had “implicitly” disclosed certain accused components because it disclosed other components that

                                  28   included the accused components. See KlausTech, 2018 WL 5109383, at *4 (rejecting argument
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                                   1   that KlausTech implicitly disclosed “operating systems” as the claimed browsers where the term

                                   2   “operating system” did not appear in the contentions); Thought, 2016 WL 3230696, at *6

                                   3   (rejecting argument that Thought “implicitly” accused wrapped sessions where infringement

                                   4   contentions referred generally to TopLink functionality without mentioning wrapped sessions).

                                   5   Here, on the other hand, ASUS expressly identified the “         ” functionality as preventing

                                   6   infringement and expressly argued that the accused products did not contain a “control information

                                   7   file.” These disclosures gave Philips “reasonable notice” as to why ASUS “believes it has a

                                   8   reasonable chance of proving” noninfringement and allowed it to structure its discovery and

                                   9   evidence in anticipation of ASUS’s arguments. See Finjan, 2018 WL 620169, at *2; Shared

                                  10   Memory Graphics LLC v. Apple, Inc., 812 F. Supp. 2d 1022, 1025 (N.D. Cal. 2010).5

                                  11           Accordingly, the Court DENIES Philips’s motion to exclude Dr. Bulterman’s “                ” and

                                  12   “               ” noninfringement theories.
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                                  13   IV.     ASUS’S DAUBERT MOTION
                                  14           ASUS seeks to exclude the opinions of Philips’s damages expert, Mr. Tate, on the ground

                                  15   that they are not reliable. Specifically, ASUS argues that Mr. Tate (1) did not conduct an

                                  16   independent economic assessment of the asserted patents and instead applied aspirational royalty

                                  17   rates derived from Philips’s licensing program, without evaluating whether those rates were

                                  18   reasonable, (2) failed to apportion damages by relying on a hypothetical negotiation that includes

                                  19   unasserted patents, (3) failed to meaningfully assess the comparability of certain licenses, (4)

                                  20   ignored relevant data, and (5) failed to provide any evidence or analysis to support a “blended

                                  21   rate” royalty in his report. The Court agrees that Mr. Tate’s opinions are not helpful.

                                  22           35 U.S.C. § 284 provides that damages for patent infringement shall be “adequate to

                                  23   compensate for the infringement” but “in no event less than the reasonable royalty for the use

                                  24   made of the invention by the infringer, together with interest and costs as fixed by the court.” 35

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                                       5
                                  26     The parties discuss at length Philips’s fraught history of seeking discovery from Google Inc. The
                                       Court agrees with Philips that these disputes are “largely irrelevant” to the question of the
                                  27   adequacy of ASUS’s noninfringement contentions. The proper remedy for document production
                                       failure is to move to compel or to seek to exclude specific evidence not timely disclosed during
                                  28   fact discovery. See Civolution B.V. v. Doremi Labs, Inc., No. LA CV14-00962 JAK (RZx), 2015
                                       WL 11072167, at *2 (C.D. Cal. June 11, 2015).
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                                   1   U.S.C. § 284. The best measure of a reasonable royalty is an established royalty—i.e., the royalty

                                   2   that the patentee actually charges for the patent-in-suit—because it “removes the need to guess at

                                   3   the terms to which parties would hypothetically agree.” Monsanto Co. v. McFarling, 488 F.3d

                                   4   973, 978-79 (Fed. Cir. 2007). A patentee can demonstrate an established royalty by showing that

                                   5   it “has consistently licensed others to engage in conduct comparable to the defendant’s at a

                                   6   uniform royalty.” Id.; see also Trell v. Marlee Elecs. Corp., 912 F.2d 1443, 1446 (Fed. Cir. 1990)

                                   7   (requiring evidence that a royalty was “paid by such a number of persons as to indicate a general

                                   8   acquiescence in its reasonableness”). For example, in Monsanto, the patent owner showed that it

                                   9   consistently licensed farmers patent-protected seeds under a standard license agreement, and the

                                  10   Federal Circuit affirmed a jury award based on the royalty rates derived from that agreement,

                                  11   adjusted to account for license restrictions. 488 F.3d at 979-81.

                                  12          Where evidence of an established royalty is not available, the Federal Circuit has approved
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                                  13   the use of a “hypothetical negotiation” framework that “attempts to ascertain the royalty upon

                                  14   which the parties would have agreed had they successfully negotiated an agreement just before

                                  15   infringement began.” Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324 (Fed. Cir. 2009).

                                  16   The hypothetical negotiation framework “tries, as best as possible, to recreate the ex ante licensing

                                  17   negotiating scenario and to describe the resulting agreement.” Id. at 1325. A list of non-

                                  18   exhaustive factors for determining a reasonable royalty in a hypothetical negotiation is outlined in

                                  19   Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970), and

                                  20   includes an examination into the value of the patent, the parties’ economic circumstances, and

                                  21   comparable past licenses of the patent-in-suit. ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860,

                                  22   869 (Fed. Cir. 2010). However, the Federal Circuit has cautioned against relying on non-

                                  23   comparable licenses and reversed damage awards based on “radically different” license

                                  24   agreements. Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1316-17 (Fed. Cir. 2011)

                                  25   (summarizing cases); see, e.g., Lucent, 580 F.3d at 1325-32; ResQNet.com, 594 F.3d at 870-71.

                                  26          Here, Mr. Tate employs a hypothetical negotiation framework and analyzes the Georgia-

                                  27   Pacific factors. See Dkt. No. 742-3 (“Tate Report”) at 12. He also analyzes past licenses and

                                  28   settlement agreements, including ones that included the asserted patents. Id. at 13-40. However,
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                                   1   at the end of the analysis, he concludes that “the reasonable royalty in the hypothetical negotiation

                                   2   would be determined using the rates reflected in Philips’ Portable Features program.” Id. at 62.

                                   3   The Portable Features program is a licensing program set up by Philips in 2009 that bundles

                                   4   patents by feature set (e.g., “Touch Screen Interfaces”) that have associated royalty rates. Id. at 8.

                                   5   Each feature set includes one or more patents, which change over time as patents expire and new

                                   6   patents issue. Id. Under the program, a prospective licensee may enter into a “Blended Rate”

                                   7   agreement and pay Philips a flat rate of $0.99 for all of the patents in the program. Id. at 9.

                                   8   Alternatively, a licensee may enter into a “Discrete Rate” agreement to pay a smaller royalty rate

                                   9   for only the patents in a particular feature set. Id. Under both types of agreements, the royalty rate

                                  10   is the same regardless of the number of patents the licensee ultimately uses. Id.

                                  11           Using the information from the Portable Features program, Mr. Tate opines that ASUS

                                  12   could have selected either the blended rate or the discrete rate in a hypothetical negotiation. Id. at
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                                  13   62. Mr. Tate then calculates the royalty obligation if ASUS had paid $0.99 for all patents in the

                                  14   program, as well as if it had paid discrete rates for the four functional areas that it is accused of

                                  15   using. Id. Because the Portable Features program involves the same rate regardless of the number

                                  16   of patents used in each feature set, Mr. Tate opines that the reasonable royalty would be the same

                                  17   regardless of whether ASUS infringes one or multiple patents in a given feature set. See id. at 63;

                                  18   Dkt. No. 742-4 (“Tate Depo.”) at 155:1-15. And he concludes that the Georgia-Pacific factors

                                  19   would have no effect on the rates set by Philips. See id. at 127:17-128:1. ASUS criticizes this

                                  20   approach by claiming that it blindly adopts Philips’s aspirational royalty rates without tying those

                                  21   rates to the economic value of the patented technology. ASUS points out that

                                  22

                                  23                                                               .6 See id. at 54:9-55:24; Dkt. No. 742-6

                                  24   (“Wieghaus Depo.”) at 70:10-72:23.

                                  25           As an initial matter, because Philips advertises the Portable Features program royalty rates

                                  26   to prospective licensees, they are properly considered offers to license. Offers to license (without

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                                  28     The discrete rates also did not change as the asserted patents expired, which further suggests that
                                       they are not tied to the value of any patent. See Tate Depo. at 100:24-102:24.
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                                   1   more) are not sufficient to demonstrate an established royalty rate. See Hanson v. Alpine Valley

                                   2   Ski Area, Inc., 718 F.2d 1075, 1078 (Fed. Cir. 1983) (requiring “actual licenses” to show an

                                   3   established royalty); Trell, 912 F.2d at 1446 (requiring “general acquiescence” to an established

                                   4   royalty rate). They may, nevertheless, be probative of reasonable royalty under a hypothetical

                                   5   negotiation framework where they are consistent with the “commercial value and profitability” of

                                   6   the patented technology. Atlantic Themoplastics Co., Inc. v. Faytex Corp., 5 F.3d 1477, 1482

                                   7   (Fed. Cir. 1993). However, their evidentiary value “is limited” by “the fact that patentees could

                                   8   artificially inflate the royalty rate by making outrageous offers.” Whitserve, LLC v. Comp.

                                   9   Packages, Inc., 694 F.3d 10, 30 (Fed. Cir. 2012). For this reason, multiple courts have excluded

                                  10   evidence of offers that lacked “indicia of reliability.” See, e.g., MLC Intellectual Prop., LLC v.

                                  11   Micron Tech., Inc., No. 14-cv-03657-SI, 2019 WL 2716512, at **13-15 (N.D. Cal. June 28, 2019)

                                  12   (excluding offer made in the context of litigation); Wi-Lan Inc. v. LG Elecs., Inc., No. 18-cv-
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                                  13   01577-H-BGS, 2019 WL 5681622, at *7 (S.D. Cal. Nov. 1, 2019) (excluding “rate sheet” used as

                                  14   a starting point in negotiations where each negotiation ended at a lower rate); Apple Inc. v. Wi-

                                  15   LAN, Inc., No. 14CV2235 DMS (BLM), 2019 WL 4253832, at *2 (S.D. Cal. Mar. 26, 2019)

                                  16   (affirming exclusion of rate sheets as prejudicial).

                                  17          In line with those decisions, the Court finds that Mr. Tate’s damages opinions lack

                                  18   sufficient reliability to be helpful to the jury. Mr. Tate erred by taking Philips’s advertised rates as

                                  19   both the starting and the ending points of a hypothetical negotiation,

                                  20                                          . See Dkt. No. 742-7 (“Tate Depo. II”) at 39:11-41:9. The

                                  21   purpose of the hypothetical negotiation framework is to approximate the fair market value of the

                                  22   patented invention. See Aqua Shield v. Inter Pool Cover Team, 774 F.3d 766, 770 (Fed. Cir.

                                  23   2014). By definition, the fair market value must reflect “the two-sided nature of the posited

                                  24   negotiation.” Id. at 771. As the Ninth Circuit explained in an analogous copyright context, “[f]air

                                  25   market value in a voluntary licensing transaction . . . ordinarily lies somewhere between the two

                                  26   poles of cost to the seller and benefit to the buyer.” Oracle Corp. v. SAP AG, 765 F.3d 1081, 1089

                                  27   (9th Cir. 2014). But Mr. Tate improperly assumed a one-sided negotiation where Philips dictates

                                  28   the terms of the hypothetical agreement based on its Portable Features program and ASUS
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                                   1   passively accepts them. Had he wished to rely on Philips’s advertised rates, Mr. Tate must have at

                                   2   least corroborated the reasonableness of those rates by tying them to the economic value of the

                                   3   invention,                                                                         , or explaining

                                   4   why the rates are consistent with ASUS’s willingness to pay for the right to use the invention. Mr.

                                   5   Tate did none of this.

                                   6            ASUS’s remaining critiques of Mr. Tate opinions underscore the lack of reliability. Mr.

                                   7   Tate did not conduct an independent economic analysis of the value of the asserted patents—

                                   8   which shows that he cannot demonstrate that Philips’s rates are reasonable compared to the value

                                   9   of the invention. Mr. Tate also did not “apportion” the value of the asserted patents compared to

                                  10   the unasserted patents in each portable feature set.7 Among other concerns, this failure means that

                                  11   Mr. Tate cannot show the licenses he analyzes in his report are comparable to the current case. In

                                  12   particular, if Philips’s existing licensees use multiple patents in Philips’s Portable Features
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                                  13   portfolio—or use patents having significantly greater value compared to the asserted patents—

                                  14   they may have a different willingness to pay compared to ASUS in a hypothetical negotiation.

                                  15   And even if Mr. Tate had shown that the licenses were comparable,

                                  16                                                , which does not support Mr. Tate’s conclusions that

                                  17   ASUS would accept the discrete royalty rates in a hypothetical negotiation.8 See Tate Report at

                                  18   13-39.

                                  19            Mr. Tate’s also fails to meaningfully consider the Georgia-Pacific factors. Although he

                                  20   lists the factors in his report, his analysis is conclusory and focuses on how those factors would

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                                       7
                                  22     Apportionment requires damages in a patent case to “reflect the value attributable to the
                                       infringing features of the product, and no more.” Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d
                                  23   1201, 1226 (Fed. Cir. 2014). ASUS argues that Mr. Tate’s opinions violate the apportionment
                                       rule because they are based on a hypothetical license that includes the value of unasserted patents.
                                  24   Philips counters that Mr. Tate properly considered a negotiation for the asserted patents only,
                                       which happens to “throw in” additional patents. The Court finds that the parties’ dispute stems
                                  25   from the same failures as described above. A license that includes additional patents could be the
                                       result of a hypothetical negotiation if the asserted patents alone are worth the royalty rate. But Mr.
                                  26   Tate failed to show that they are. And regardless of whether portfolio licenses violate the
                                       apportionment rule, they make it exceedingly difficult to determine whether past licenses are
                                  27   comparable to the case-at-issue and may be excluded for that reason. See, e.g., DataQuill Ltd. v.
                                       High Tech Comp. Corp., 887 F. Supp. 2d 999, 1023 (N.D. Cal. 2011).
                                  28   8
                                           Mr. Tate withdrew his blended rate opinions during deposition. See Tate Depo. II at 28:10-33:3.
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                                   1   “revise” the rates set by the Patent Portfolio program. See Tate Report at 41-63. Courts in this

                                   2   district have rejected similar analysis that begins with a “starting point” based on non-case specific

                                   3   data and then revises upward or downward based on the Georgia-Pacific factors. See Open Text

                                   4   S.A. v. Box, Inc., No. 13-cv-04910-JD, 2015 WL 349197, at *6 (N.D. Cal. Jan. 23, 2015)

                                   5   (rejecting approach that picks a starting point based on industry-wide data and revises upward or

                                   6   downward based on the Georgia-Pacific factors); Digital Reg of Tex., LLC v. Adobe Sys., Inc., No.

                                   7   C 12-1971 CW, 2014 WL 4090550, at *2 (N.D. Cal. Aug. 19, 2014) (cautioning that “a starting

                                   8   point should be tied to case-specific factors grounded in reliable data”); Dinetix Design Solutions,

                                   9   Inc. v. Synopsys, Inc., No. C 11-05973 PSG, 2013 WL 4538210, at *4 (N.D. Cal. Aug. 22, 2013)

                                  10   (requiring a “case and party specific starting point”). Damages in a patent case must be tied to

                                  11   “the claimed invention’s footprint in the market place.” ResQNet.com, 594 F.3d at 869. Portfolio-

                                  12   wide license rates are simply not a reasonable starting point for measuring the fair market value of
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                                  13   an invention. See Golden Bridge Tech. v. Apple Inc., No. 5:12-CV-04882-PSG, 2014 WL

                                  14   4057187, at *2 (N.D. Cal. June 1, 2014); see also Exmark Mfg. Co., Inc. v. Briggs & Stratton

                                  15   Power Prods. Grp., LLC, 879 F.3d 1332, 1349 (Fed. Cir. 2018) (affirming exclusion of expert

                                  16   testimony that failed to tie Georgia-Pacific factors to resulting royalty rate).

                                  17          At bottom, Mr. Tate improperly conflates an established royalty rate analysis with a

                                  18   hypothetical negotiation analysis. A licensing program cannot demonstrate an established royalty

                                  19   unless it enjoys “widespread acquiescence” from licensees.                               , Mr. Tate

                                  20   was required to recreate the hypothetical negotiation scenario “as best as possible” to approximate

                                  21   the bargaining power and willingness to pay of each party. Lucent Techs., 580 F.3d at 1324.

                                  22   Instead, Mr. Tate assumed—without evidence—that Philips would dictate the terms through the

                                  23   Portable Features program, that ASUS would acquiesce to those terms without modification, and

                                  24   that the rates made sense in the context of the value of the infringing feature. These assumptions

                                  25   are unsubstantiated and therefore not reliable. Accordingly, the Court GRANTS ASUS’s motion

                                  26   to exclude Mr. Tate’s analysis as to the reasonable royalty in this case.

                                  27          Nevertheless, the Court is cognizant that Philips is entitled to reasonable royalties in the

                                  28   event of infringement even if it has no evidence to proffer for that royalty. See Info-Hold, Inc. v.
                                                                                         16
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                                   1   Muzak LLC, 783 F.3d 1365, 1372 (Fed. Cir. 2015) (reversing summary judgment of zero royalties

                                   2   where patentee failed to prove damages); Dow Chem. Co. v. Mee Indus., Inc., 341 F.3d 1370, 1381

                                   3   (Fed. Cir. 2003) (rejecting conclusion that failure to prove damages means no damages could be

                                   4   awarded). Accordingly, since the jury will have to determine a reasonable royalty regardless, the

                                   5   Court finds that Mr. Tate’s opinions about the royalty base would be helpful in that regard and

                                   6   DENIES ASUS’s motion as to those opinions.

                                   7   V.     CONCLUSION
                                   8          For the reasons stated in this Order, the Court DENIES without prejudice Philips’s motion

                                   9   to exclude Dr. Dunlop’s opinions (Dkt. No. 711), GRANTS IN PART and DENIES IN PART

                                  10   Philips’s motion to exclude Dr. Jakobsson’s opinions (Dkt. No. 713), DENIES Philips’s motion to

                                  11   exclude Dr. Bulterman’s opinions (Dkt. No. 766), and GRANTS IN PART and DENIES IN

                                  12   PART ASUS’s motion to exclude Mr. Tate’s opinions (Dkt. No. 742).
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                                  13

                                  14          IT IS SO ORDERED.

                                  15   Dated: April 13, 2020

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                                  17                                                               United States District Judge
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